       Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 1 of 12




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________________________________________

MARIO FRANCO,

                               Plaintiff,
                                                              ANSWER
       v.                                                     Civil Action No.: 5:16-CV-0634
                                                              (FJS/TWD)

                                                              JURY TRIAL DEMANDED

THE CITY OF SYRACUSE, POLICE OFFICER
JOHN GUNSALUS, POLICE OFFICER
WILLIAM LASHOMB, POLICE OFFICER MAURO,
POLICE OFFICER KELLY and
UNIDENTIFIED SYRACUSE POLICE OFFICERS,
all sued herein in their capacity as individuals,

                         Defendants.
_______________________________________________________________________

       Defendants THE CITY OF SYRACUSE, POLICE OFFICER JOHN GUNSALUS,

POLICE OFFICER WILLIAM LASHOMB, POLICE OFFICER MAURO, POLICE

OFFICER KELLY and UNIDENTIFIED SYRACUSE POLICE OFFICERS, all sued

herein in their capacity as individuals, (“Defendants”), by and through their attorney, ROBERT

P. STAMEY, ESQ. CORPORATION COUNSEL OF THE CITY OF SYRACUSE, Aimee

Paquette, Esq., Assistant Corporation Counsel, Of Counsel, answers the Plaintiff’s Complaint as

follows:

       1. Defendants DENY the allegations contained in paragraph “1” of the Complaint herein;

       2. Defendants DENY the allegations contained in paragraph “2” of the Complaint herein;

       3. Defendants DENY KNOWLEDGE OR INFORMATION sufficient to form a belief

as to the allegations contained in paragraph “3” of the Complaint herein;

       4. Defendants ADMIT the allegations contained in paragraph “4” of the Complaint herein;

                                                  1
       Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 2 of 12




       5. Defendants DENY AS CHARACTERIZED the allegations contained in paragraph

“5” of the Complaint herein;

       6. Defendants DENY KNOWLEDGE OR INFORMATION sufficient to form a belief

as to the allegations contained in paragraph “6” of the Complaint herein;

       7. Defendants DENY the allegations contained in paragraph “7” of the Complaint herein;

       8. Defendants DENY the allegations contained in paragraph “8” of the Complaint herein;

       9. Defendants DENY the allegations contained in paragraph “9” of the Complaint herein;

       10. Defendants DENY KNOWLEDGE OR INFORMATION sufficient to form a belief

as to the allegations contained in paragraph “10” of the Complaint herein;

       11. Defendants DENY KNOWLEDGE OR INFORMATION sufficient to form a belief

as to the allegations contained in paragraph “11” of the Complaint herein;

       12. Defendants DENY KNOWLEDGE OR INFORMATION sufficient to form a belief

as to the allegations contained in paragraph “12” of the Complaint herein;

       13. Defendants DENY the allegations contained in paragraph “13” of the Complaint herein;

       14. Defendants DENY the allegations contained in paragraph “14” of the Complaint herein;

       15. Defendants DENY the allegations contained in paragraph “15” of the Complaint herein;

       16. Defendants DENY the allegations contained in paragraph “16” of the Complaint herein;

       17. Defendants DENY the allegations contained in paragraph “17” of the Complaint herein;

       18. Defendants DENY the allegations contained in paragraph “18” of the Complaint herein;

       19. Defendants DENY the allegations contained in paragraph “19” of the Complaint herein;

       20. Defendants DENY the allegations contained in paragraph “20” of the Complaint herein;

       21. Defendants DENY the allegations contained in paragraph “21” of the Complaint herein;

       22. Defendants DENY KNOWLEDGE OR INFORMATION sufficient to form a belief



                                                  2
      Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 3 of 12




as to the allegations contained in paragraph “22” of the Complaint herein;

       23. Defendants DENY the allegations contained in paragraph “23” of the Complaint herein;

       24. Defendants DENY the allegations contained in paragraph “24” of the Complaint herein;

       25. Defendants DENY the allegations contained in paragraph “25” of the Complaint herein;

       26. Defendants DENY the allegations contained in paragraph “26” of the Complaint herein;

       27. Defendants DENY the allegations contained in paragraph “27” of the Complaint herein;

       28. Defendants DENY the allegations contained in paragraph “28” of the Complaint herein;

       29. Defendants DENY the allegations contained in paragraph “29” of the Complaint herein;

       30. Defendants DENY the allegations contained in paragraph “30” of the Complaint herein;

       31. Defendants DENY the allegations contained in paragraph “31” of the Complaint herein;

       32. Defendants DENY the allegations contained in paragraph “32” of the Complaint herein;

       33. Defendants DENY the allegations contained in paragraph “33” of the Complaint herein;

       34. Defendants DENY the allegations contained in paragraph “34” of the Complaint herein;

       35. Defendants DENY the allegations contained in paragraph “35” of the Complaint herein;

       36. Defendants DENY the allegations contained in paragraph “36” of the Complaint herein;

       37. Defendants DENY the allegations contained in paragraph “37” of the Complaint herein;

       38. Defendants DENY the allegations contained in paragraph “38” of the Complaint herein;

       39. Defendants DENY the allegations contained in paragraph “39” of the Complaint herein;

       40. Defendants DENY the allegations contained in paragraph “40” of the Complaint herein;

       41. Defendants DENY the allegations contained in paragraph “41” of the Complaint herein;

       42. Defendants DENY the allegations contained in paragraph “42” of the Complaint herein;

       43. Defendants DENY the allegations contained in paragraph “43” of the Complaint herein;

       44. Defendants DENY the allegations contained in paragraph “44” of the Complaint herein;



                                                 3
Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 4 of 12




45. Defendants DENY the allegations contained in paragraph “45” of the Complaint herein;

46. Defendants DENY the allegations contained in paragraph “46” of the Complaint herein;

47. Defendants DENY the allegations contained in paragraph “47” of the Complaint herein;

48. Defendants DENY the allegations contained in paragraph “48” of the Complaint herein;

49. Defendants DENY the allegations contained in paragraph “49” of the Complaint herein;

50. Defendants DENY the allegations contained in paragraph “50” of the Complaint herein;

51. Defendants DENY the allegations contained in paragraph “51” of the Complaint herein;

52. Defendants DENY the allegations contained in paragraph “52” of the Complaint herein;

53. Defendants DENY the allegations contained in paragraph “53” of the Complaint herein;

54. Defendants DENY the allegations contained in paragraph “54” of the Complaint herein;

55. Defendants DENY the allegations contained in paragraph “55” of the Complaint herein;

56. Defendants DENY the allegations contained in paragraph “56” of the Complaint herein;

57. Defendants DENY the allegations contained in paragraph “57” of the Complaint herein;

58. Defendants DENY the allegations contained in paragraph “58” of the Complaint herein;

59. Defendants DENY the allegations contained in paragraph “59” of the Complaint herein;

60. Defendants DENY the allegations contained in paragraph “60” of the Complaint herein;

61. Defendants DENY the allegations contained in paragraph “61” of the Complaint herein;

62. Defendants DENY the allegations contained in paragraph “62” of the Complaint herein;

63. Defendants DENY the allegations contained in paragraph “63” of the Complaint herein;

64. Defendants DENY the allegations contained in paragraph “64” of the Complaint herein;

65. Defendants DENY the allegations contained in paragraph “65” of the Complaint herein;

66. Defendants DENY the allegations contained in paragraph “66” of the Complaint herein;

67. Defendants DENY the allegations contained in paragraph “67” of the Complaint herein;



                                        4
         Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 5 of 12




         68. Defendants DENY the allegations contained in paragraph “68” of the Complaint herein;

         69. Defendants DENY the allegations contained in paragraph “69” of the Complaint herein;

         70. Defendants DENY the allegations contained in paragraph “70” of the Complaint herein;

         71. Defendants DENY the allegations contained in paragraph “71” of the Complaint herein;

         72. Defendants DENY the allegations contained in paragraph “72” of the Complaint herein;

         73. Defendants DENY all other allegations not specifically admitted herein.

                       AS AND FOR A FIRST AFFIRMATIVE DEFENSE,
                           DEFENDANTS ALLEGE AS FOLLOWS:

         74. Any damages alleged to have been sustained by Plaintiff were caused or contributed to

in full or in part by the culpable conduct and/or assumption of the risk of Plaintiff and not by any

culpable conduct on behalf of the Defendants;

                     AS AND FOR A SECOND AFFIRMATIVE DEFENSE,
                          DEFENDANTS ALLEGE AS FOLLOWS:

         75. Plaintiff is guilty of provoking any actions alleged as excessive and unreasonable

force;

                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE,
                          DEFENDANTS ALLEGE AS FOLLOWS:

         76. Some or all of the Plaintiff’s claims for compensatory and punitive damages are

barred by applicable state and federal law;

                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE,
                          DEFENDANTS ALLEGE AS FOLLOWS:

         77. Plaintiff has failed to state a claim upon which relief may be granted; any claims

for punitive damages violate provisions of the Constitution of the United State and the State of New

York;

                       AS AND FOR A FIFTH AFFIRMATIVE DEFENSE,
                           DEFENDANTS ALLEGE AS FOLLOWS:

                                                   5
       Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 6 of 12




       78.     To the extent that the Plaintiff seeks punitive or exemplary damages within his

Complaint against the Defendant City or individual defendants in their official capacity, such claims

should be dismissed as improper;

                     AS AND FOR A SIXTH AFFIRMATIVE DEFENSE,
                         DEFENDANTS ALLEGE AS FOLLOWS:

       79. Plaintiff has failed to state a cause of action upon which relief may be granted;

                   AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       80. Plaintiff’s pleadings are insufficient and not in the form prescribed pursuant to the

Federal Rules of Civil Procedure, thus failing to state a cause of action;

                   AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       81. Some or all of Plaintiff’s claims are barred by the applicable statute of limitations;

                     AS AND FOR A NINTH AFFIRMATIVE DEFENSE,
                         DEFENDANTS ALLEGE AS FOLLOWS:

       82. Some or all of Plaintiff’s causes of action are barred by his failure to comply with

§§50-e, 50-h and 50-i of the GENERAL MUNICIPAL LAW;

                     AS AND FOR A TENTH AFFIRMATIVE DEFENSE,
                         DEFENDANTS ALLEGE AS FOLLOWS:

       83. To the extent Plaintiff has failed to mitigate his damages, his claims for

damages are diminished or barred;

                 AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       84. Some or all of the damages alleged in the complaint are barred and/or subject to

the qualifications and limitations of the provisions of Section 4545 of the CPLR;



                                                   6
       Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 7 of 12




                   AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       85.      Some or all of the Plaintiff’s claims are barred because the Plaintiff failed to

exhaust his administrative remedies and/or meet conditions precedent to the commencement of this

action as required by law;

                 AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       86. Any and all acts of Defendants and any agents or employees of the City were

justified and in accordance with the law;

                AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       87. Any alleged violation of Plaintiff’s constitutional rights was not the proximate cause

of Plaintiff’s injuries and/or damages;

                  AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       88. Some of Plaintiff’s claims, in whole or in part, fail based on a lack of personal

involvement by the named Defendants in the alleged constitutional violations;

                  AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       89. Any force used by Defendants and/or any agents or employees of the City was

privileged, reasonable, and necessary;

                AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:


       90. The Complaint fails to state specific acts of conduct attributable to the Defendants

that gives rise to liability pursuant to 42 U.S.C. §1983;

               AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE,

                                                   7
       Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 8 of 12




                            DEFENDANTS ALLEGE AS FOLLOWS:

        91. The Complaint fails to allege the existence of a custom, policy or practice of the

municipal defendant which gives rise to liability pursuant to 42 U.S.C. §1983;

                 AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

        92.     The Defendant City does not maintain or allow a policy, custom or practice that

allegedly violated Plaintiff’s civil rights;

                  AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE,
                         DEFENDANTS ALLEGE AS FOLLOWS:


        93. The City of Syracuse maintains adequate policies that are in accordance with State

and Federal Law.

                AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

        94.     The Complaint fails to allege actions taken by officials with final policymaking

authority that caused a constitutional violation of Plaintiff’s civil rights;

               AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

        95.     Upon information and belief, if Plaintiff obtains any recovery in this action

against the Defendants, such recovery and liability against the Defendants should be limited

pursuant to Articles 14 and 16 of the CPLR; the liability, if any, of the Defendants to Plaintiff for

non-economic loss shall be limited to the Defendants’ equitable share of the culpable conduct

causing or contribution to the total liability for the non-economic loss of the Plaintiff, if any;

                AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

        96. Upon information and belief, Plaintiff may have, or might in the future, reach



                                                   8
       Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 9 of 12




agreements and/or settlement with other nonparty tortfeasors and in the event of such

circumstances, will be obligated to immediately disclose the same to the Defendants at which

time the Defendants will have the right to set-off any and all other available relief pursuant to

General Obligations Law §15-108;

              AS AND FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       97. If the Plaintiff suffered any injury or damage, such injury or damage was

caused in whole or in part by a third party acting outside the scope of his employment;

               AS AND FOR A TWENTY-FIFTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       98. Any actions done by agents of the City in arresting and detaining Plaintiff were done

in good faith, with probable cause and without malice.

               AS AND FOR A TWENTY-SIXTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       99. Any and all acts of the Defendants and/or any agents or employees of the City of

Syracuse was privileged, reasonable and necessary and is protected by qualified immunity;

              AS AND FOR A TWENTY-SEVENTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       100.    Any and all acts of the Defendants and/or any agents or employees of the City of

Syracuse was privileged, reasonable and necessary and is protected by absolute immunity;

              AS AND FOR A TWENTY-EIGHTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       101.    Defendants’ actions were not motivated by evil motive or intent and were not

performed with reckless or callous indifference to plaintiff’s federally protected rights;

               AS AND FOR A TWENTY-NINTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:



                                                  9
      Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 10 of 12




       102.    Defendants’ actions were not malicious, willful, wanton, reckless, grossly negligent,

or extreme and outrageous;

                 AS AND FOR A THIRTIETH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       103.    Demand is made for a jury trial on all issues;

                AS AND FOR A THIRTY-FIRST AFFIRMATIVE DEFENSE,
                        DEFENDANTS ALLEGE AS FOLLOWS:

       104.    The Court has not obtained personal jurisdiction over each Defendant named in this

action because Plaintiff failed to effectuate personal service of the Summons and Complaint;

              AS AND FOR A THIRTY-SECOND AFFIRMATIVE DEFENSE,
                      DEFENDANTS ALLEGE AS FOLLOWS:

       105.    The Court lacks subject matter jurisdiction over some or all of Plaintiff’s claims;

                     AS AND FOR A THIRTY-THIRD AFFIRMATIVE DEFENSE,
                             DEFENDANTS ALLEGE AS FOLLOWS:

       106.    Some or all of Plaintiff’s claims are barred by res judicata and/or collateral estoppel;

              AS AND FOR A THIRTY-FOURTH AFFIRMATIVE DEFENSE,
                       DEFENDANTS ALLEGE AS FOLLOWS:

       107.    Defendants reserve the right to raise additional defenses, which may become

known during further investigation and discovery in this case;

      WHEREFORE, Defendants demand judgment dismissing the Complaint with costs,

disbursements, attorney’s fees and for such other and further relief as to the Court may deem just

and proper.

Dated: June 30, 2016                                   ROBERT P. STAMEY, ESQ.
       Syracuse, New York                              CORPORATION COUNSEL
                                                       OF THE CITY OF SYRACUSE

                                                   By: ______/s___________________
                                                       Aimee M. Paquette



                                                  10
      Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 11 of 12




                                                  Assistant Corporation Counsel
                                                  Bar Roll No. 516178
                                                  Attorney for Defendants
                                                  300 City Hall
                                                  Syracuse, New York 13202
                                                  Tel: (315) 448-8400
                                                  Fax: (315) 448-8381
                                                  E-Mail: apaquette@syrgov.net


To:    Fred Lichtmacher
       The Law Office of Fred Lichtmacher, P.C.
       2 Wall Street, 10th Floor
       New York, New York 10005




                                            11
      Case 5:16-cv-00634-FJS-TWD Document 7 Filed 06/30/16 Page 12 of 12




                                  CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on June 30, 2016, she filed Defendants’ Answer by

electronically filing with the Clerk of the Court herein, which is understood to have sent

notification of such filing electronically to the following:

       Fred Lichtmacher
       The Law Office of Fred Lichtmacher, P.C.
       2 Wall Street, 10th Floor
       New York, New York 10005

Dated: June 30, 2016                           ROBERT P. STAMEY, ESQ.
Syracuse, New York                             CORPORATION COUNSEL
                                               OF THE CITY OF SYRACUSE

                                           By: ______/s___________________
                                               Aimee M. Paquette
                                               Assistant Corporation Counsel
                                               Bar Roll No. 516178
                                               Attorney for City Defendants
                                               300 City Hall
                                               Syracuse, New York 13202
                                               Tel: (315) 448-8400
                                               Fax: (315) 448-8381
                                               E-Mail: apaquette@syrgov.net




                                                  12
